  Case 19-31443-hdh11 Doc 99 Filed 08/22/19               Entered 08/22/19 23:33:39          Page 1 of 3




The following constitutes the ruling of the court and has the force and effect therein described.



Signed August 19, 2019
                                            United States Bankruptcy Judge
  ______________________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      In re:                                          §
                                                      §
      Rooftop Group International Pte. Ltd.,          §      Case No. 19-31443-hdh11
                                                      §
                                                      §
               Debtor.                                §

                 SUA SPONTE ORDER TRANSFERRING AND REASSIGNING CASE

               The above-captioned case is currently pending before the Honorable Harlin D. Hale in the

     Dallas Division of the Northern District of Texas, but the Honorable Mark X. Mullin has now

     presided over several hearings in this case. The Court finds it in the best interests of all concerned

     that Judge Mullin continue to preside over this case.

               IT IS THEREFORE ORDERED that the Clerk of the Bankruptcy Court for the Northern

     District of Texas is instructed to transfer and reassign, for all purposes, the above-captioned case

     to the Honorable Mark X. Mullin in the Fort Worth Division of the Northern District of Texas.

                                          ###END OF ORDER###
       Case 19-31443-hdh11 Doc 99 Filed 08/22/19                Entered 08/22/19 23:33:39          Page 2 of 3
                                        United States Bankruptcy Court
                                         Northern District of Texas
In re:                                                                                     Case No. 19-31443-hdh
Rooftop Group International Pte. Ltd.                                                      Chapter 11
         Debtor
                                          CERTIFICATE OF NOTICE
District/off: 0539-3            User: swhitaker               Page 1 of 2                    Date Rcvd: Aug 20, 2019
                                Form ID: pdf013               Total Noticed: 52


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 22, 2019.
db             +Rooftop Group International Pte. Ltd.,      5218 Spruce Street,      Bellaire, TX 77401-3311
aty            +Reed Smith, LLP,     2501 N. Harwood, Suite 1700,     Dallas, TX 75201-1663
intp           +Darren Scott Matloff,     c/o Law Office of Sarah M. Cox,      12770 Coit Rd, Suite 1100,
                 Dallas, TX 75251-1329
18568214        APPLAUD MEDIA,    32 Vicarage Drive,     Beckenham, London BR3 1JW,      United Kingdom
18568221        Accessory Line,    Via Zagaria 2,     31055 Quinto di Treviso (TV),      Italy
18568198        Amax Industrial Group China Co., Ltd.,      Wenjin Middle Road 1010,      Luohu District,     Shenzhen,
                 China, 518003
18568185        Andre Joseph Hoffmann,     L’occitane (Far East) Ltd.,      Times Square, 38/F, Tower Two,
                 1 Matheson Street,     Causeway Bay, Hong Kong
18568199        Asian Express Holdings Limited,      582-592 Nathan Road Room 804,      Sino Centre Mongkon,
                 Hong Kong
18568194        Asian Express Holdings Ltd,     Room 1702, Sino Centre,      582-592 Nathan Road,      Mongkok, Kowloon,
                 Hong Kong
18568195        Atkis Capital Advisory Ltd,     27th Floor Tesbury Centre,      28 Queen’s Road East,      Wan Chai,
                 Hong Kong
18568228        Atlantis Internacional Spain,     Carrer del Crom, 53,      08907 L’Hospitalet de Llobregat,
                 Barcelona,    Spain
18568192        Begaline Ltd,    Vanterpool Plaza, 2nd Floor,      Wickams Cay 1,,     Road Town, Tortola,,
                 British Virgin Islands
18568184        Brian Dlugash / Tetro Limited,      4B, 12 Shipyard Lane,     Quarry Bay, Hong Kong
18568182        Chiat Thian Chew,     Portcullis Trustnet Chambers,      PO Box 3444,    Road Town, Tortola,
                 British Virgin Islands
18568208        Crystal Marbles,     Televisieweg 2a,    1322 AC Almere,     Netherlands
18568191        Disney Consumer Products, Inc (USA),      80 Raffles Place, #26-04,      UOB Plaza 1,
                 Singapore 048624
18568197       +Duane Morris LLP,     1540 Broadway,    New York, NY 10036-4086
18568210        Dunne and Waterman,     36 Whitefriars St,    London, EC4Y 8BQ,      United Kingdom
18568232        Extenso Telecom,     1 Chemin du Plateau,    69570 Dardilly,     France
18568212        GLS General Logistics Systems Hungary Kft.,       Alsnmedi,    GLS Eurpa u. 2,      2351 Hungary
18568205        Go To Tigers,    Shannonweg 72-74,     Botlek, Rotterdam, 3197,      The Netherlands
18568200        Gregor Steinborn,     Unternehmensberatung,     Monkesweg 50a,     Meerbusch 40670,     Germany
18568222        Hot Pickle Trading Ltd,     Lincoln House, Ground Floor Unit 2,       1-3 Brixton Road,
                 London SW9 6DE,     United Kingdom
18568202        Jack Bishop,    6 Hallfields Lane,     Rothley,    Leicester LE7 7NF,     United Kingdom
18568231        Juguetronica,    Calle de Alberto Aguilera, 1,      28015 Madrid,     Spain
18568219        KCG Partners,    Szchenyi rkp. 8,     Budapest,    1054 Hungary
18568196       +KMOB (Knobbe Martens Olson & Bear),      2040 Main Street,     14th Floor,     Irvine, CA 92614-8214
18568201        Lee Waite,    8 Cliff Road,    Leigh On Sea,     Essex SS9 1HJ,     United Kingdom
18568220        Lehrieder Catering-Party-Service GmbH & Co. KG,       Messezentrum 1,     90471 Neuremberg,      Germany
18568204        Low Cut Limited,     48 Rustington Road,    Brighton,     East Sussex BN1 8DQ,      United Kingdom
18568224        Market Making LTD,     10 Chiswell Street,    London EC1Y 4UQ,      United Kingdom
18568218        Mazars,    Budapest, Nagyenyed u. 8,     1123 Hungary
18568211        Midland Helicopters,     Unit 11, Newton Road,     Harrowbrook Industrial Estate,
                 Hinckley, Leicestershire LE10 3DS,      United Kingdom
18568227        North TQ,    Krakasvej,    11A 3400 Hillerd,     Denmark
18568233        North TQ,    Torsholmsalle 6,    3400 Hillerd,     Denmark
18568207        OP Talent Limited,     Shepherds Building,    Charecroft Way,      Shepards Bush, London W14 0EE,
                 United Kingdom
18568188        Pica Australia,    11/37 Keilor Park Dr.,     Keilor Park,     Vic 3042,     Australia
18568193        Polar Ventures Overseas Limited,      Portcullis Trustnet Chambers,      PO Box 3444,
                 Road Town, Tortola,     British Virgin Islands
18568217        RLVNT Distribution AB,     Bolshendens Industrivag 35,      427 50 Billdal,     Sweden
18568230        Real View Digital Greece,     Eth. Antistaseos 4,     Chalandri 152 32,      Greece
18568225        Red Agency,    121 Harrington Street,     The Rocks NSW 2000,      Australia
18568209        S H Landes LLP,    3rd Floor, Fairgate House,      78 New Oxford St,     London, WC1A 1HB,
                 United Kingdom
18568206        Schenker Deutschland AG,     Lyoner Strasse 15,     60528 Frankfurt/Main,      Germany
18568183        Shulian Sui,    1-202 Building 5,     No. 17, Xicui Road,     Haidian District, Beijing,      China
18568186        Stephen Nelson,    Flat 7B,    93 Repulse Bay Road,      Hong Kong
18568203        Swerve Public Relations,     920 Brant St, Unit 5,     Burlington ON L7R 4J1
18568216        Tech Data UK,    Harrier Parkway Magna Park,      Lutterworth LE17 4XT,      United Kingdom
18568215       +Tech Data USA,    16202 Bay Vista Drive,     Clearwater FL 33760-3126
18568181        Triumphant Gold Limited,     Offshore Incorporations (Cayman) Limited,        Floor 4, Willow House,
                 Cricket Square PO Box 2804,     Grand Cayman, KY1-1112, Cayman Islands
18568190        UOC SPV1 Pte. Ltd.,     80 Raffles Place,    #26-04 UOB Plaza 1,      Singapore 048624
18568223        Vertigo 6 BV,    Zijpendaalseweg,     12 6814 CK Arnhem,     The Netherlands
18568213        Zangen Bansmann PR,     Von-Gahlen-Strae 27,     40625 Dsseldorf,     Germany

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0
         Case 19-31443-hdh11 Doc 99 Filed 08/22/19                          Entered 08/22/19 23:33:39                Page 3 of 3



District/off: 0539-3                  User: swhitaker                    Page 2 of 2                          Date Rcvd: Aug 20, 2019
                                      Form ID: pdf013                    Total Noticed: 52


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
18568234          Computerworks,    Florenz-Strasse 1e,    4023 Basel,   Switerland
18568226          MPIT Netherlands 1 BV,    Funenpark 1D,    1018AK AMSTERDAM
18568189          Suisuhai,    1-2-1904 Dayaotiancheng,    Shanda Road,   Jinan City, Shandong Province
18568229*         Accessory Line,    Via Zagaria, 2,    31055 Quinto di Treviso TV,    Italy
18568187*         Shulian Sui,    1-202 Building 5,   No. 17, Xicui Road,     Haidian District, Beijing,   China
                                                                                                 TOTALS: 3, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 22, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 20, 2019 at the address(es) listed below:
              Katharine Battaia Clark   on behalf of Creditor   Triumphant Gold Limited KClark@HedrickKring.com,
               Robbyn@HedrickKring.com;Angela@HedrickKring.com
              Lindsey Lee Robin   on behalf of Debtor   Rooftop Group International Pte. Ltd.
               lrobin@reedsmith.com, jkrasnic@reedsmith.com;anixon@reedsmith.com;srhea@reedsmith.com
              Matthew H. Davis   on behalf of Creditor   Disney Consumer Products, Inc. mdavis@lockelord.com,
               kristi.russelburg@lockelord.com
              Michael P. Cooley   on behalf of Debtor   Rooftop Group International Pte. Ltd.
               mpcooley@reedsmith.com, jkrasnic@reedsmith.com;srhea@reedsmith.com
              Rachael L. Smiley   on behalf of Creditor Committee   Official Unsecured Creditors Committee
               rachael.smiley@judithwross.com
              Sarah M. Cox   on behalf of Interested Party Darren Scott Matloff sarah@sarahcoxlaw.com
              Thomas A. Connop   on behalf of Creditor   Disney Consumer Products, Inc. tconnop@lockelord.com,
               kristi.russelburg@lockelord.com
              United States Trustee   ustpregion06.da.ecf@usdoj.gov
                                                                                            TOTAL: 8
